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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

SPORTCO HOLDINGS, INC., ef al.,' Case No. 19-11299 (LSS)

Debtors. (Jointly Administered)

Re: Docket No. 7

 

ORDER EXTENDING DEBTORS’ TIME TO FILE SCHEDULES
OF ASSETS AND LIABILITIES, SCHEDULES OF EXECUTORY CONTRACTS AND
UNEXPIRED LEASES, AND STATEMENTS OF FINANCIAL AFFAIRS

Upon the motion (the “Motion”)’ of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order (this “Order’), under Bankruptcy Rule 1007(c),

 

extending the time period for the Debtors to file their schedules of assets and liabilities, schedules
of executory contracts and unexpired leases, and statements of financial affairs (collectively, the
“Schedules”), through and including July 22, 2019; and upon the First Day Declaration; and this
Court having found that it has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and
1334 and the Amended Standing Order of Reference from the United States District Court for the
District of Delaware, dated as of February 29, 2012; and this Court having found that the Motion is
a core proceeding pursuant to 28 U.S.C. § 157(b); and that the Debtors consent to entry of a final
order under Article III of the United States Constitution; and this Court having found that venue of
these Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and
1409; and this Court having determined that the relief requested in the Motion is in the best
interests of the Debtors, their estates, their creditors, and other parties in interest; and it appearing

that proper and adequate notice of the Motion has been given and that no other or further notice is

 

! The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The iocation of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave. Chapin, SC 29036.

2 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.

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necessary; and this Court having reviewed the Motion and having heard statements in support of
the Motion at a hearing held before this Court (the “Hearing’’); and this Court having determined
that the legal and factual bases set forth in the Motion and the First Day Declaration and at the
Hearing establish just cause for the relief granted herein; and any objections to the relief requested
herein having been withdrawn or overruled on the merits; and after due deliberation thereon and
good and sufficient cause appearing therefor, [IT IS HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. The time by which the Debtors must file their schedules of assets and liabilities,
schedules of executory contracts and unexpired leases, and statements of financial affairs
(collectively, the “Schedules”) required by Bankruptcy Rule 1007(b) and Local Rule 1007-1(c) is
enlarged and extended pursuant to Bankruptcy Rule 1007(b) through and including July 22, 2019.

3. The entry of this Order shall be without prejudice to the Debtors’ right to apply to
this Court, upon appropriate notice, for further extension(s) of the time to file the Schedules, or to
seek a waiver of the requirement for filing certain Schedules.

4, The Debtors are authorized to take all actions necessary to effectuate the relief
granted pursuant to this Order and in accordance with the Motion.

5. Notwithstanding any applicability of any Bankruptcy Rules, the terms and
conditions of this Order shall be immediately effective and enforceable upon its entry.

6. This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the interpretation, implementation, or enforcement of this Order.

Dated: June I 2019
Wilmington, Delaware At Lee he
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UNITED STATES BANKRUPTCY JUDGE

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